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                                                                        Ex. B-6
                                   Susan M. King, et al. v. Islamic Republic of Iran, No. 1:22-cv-05193 (GBD) (SN)

                                                   (Alphabetically by Last Name of 9/11 Decedent)

                                        DECEDENT                                               Non-Economic
                         DECEDENT                     DECEDENT Last   Suffix     Economic                       TOTAL Damage
                                         Middle                                                  Damage
                         First Name                       Name        Name     Damage Amount                       Amount
                                          Name                                                   Amount

                   1.     Ayleen            J.           Santiago                               $2,000,000.00        $2,000,000.00



                        TOTALS                                                                  $2,000,000.00        $2,000,000.00




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